Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18355
                                                         PageID.20532   Page 1 of 39
                                                                              1



    1                       UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
    2                             SOUTHERN DIVISION
    3
    4     UNITED STATES OF AMERICA,
    5                      Government,
                                                  HONORABLE GEORGE CARAM STEEH
    6           v.
                                                  No. 15-20652
    7     D-1   BILLY DARRELL ARNOLD,
          D-2   STEVE RUMEAL ARTHUR,
    8     D-3   EUGENE FISHER,
          D-4   COREY BAILEY,
    9     D-5   QUINCY GRAHAM,
          D-6   ROBERT BROWN, II
   10     D-7   JEROME GOOCH,
          D-8   MICHAEL ROGERS,
   11     D-9   DERRICK KENNEDY,
   12                    Defendants.
          _____________________________/
   13
                                   STATUS CONFERENCE
   14
                              Monday, November 21, 2016
   15
                                       -    -    -
   16
          APPEARANCES:
   17
          For the Government:                   CHRISTOPHER GRAVELINE, ESQ.
   18                                           Assistant U.S. Attorney
   19
          For the Defendants:                   MARIA MANNARINO, ESQ.
   20                                           ERIC K. KOSELKE, ESQ.
                                                On behalf of Billy Arnold
   21
                                                JOHN M. MCMANUS, ESQ.
   22                                           On behalf of Steve Arthur
   23                                           HENRY SCHARG, ESQ.
                                                On behalf of Eugene Fisher
   24
                                                JOHN MINOCK, ESQ.
   25                                           KEITH SPIELFOGEL, ESQ.
                                                On behalf of Corey Bailey
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18356
                                                         PageID.20533   Page 2 of 39
                                                                              2



    1                                           MICHAEL A. RATAJ, ESQ.
                                                On behalf of Quincy Graham
    2
                                                JAMES L. FEINBERG, ESQ.
    3                                           On behalf of Robert Brown, II
    4                                           CHRISTOPHER M. SEIKALY, ESQ.
                                                On behalf of Jerome Gooch
    5
                                                DOUGLAS R. MULLKOFF, ESQ.
    6                                           On behalf of Michael Rogers
    7                                           BARTON W. MORRIS, JR.
                                                On behalf of Derrick Kennedy
    8
                                       -    -    -
    9
   10                To Obtain Certified Transcript, Contact:
                 Ronald A. DiBartolomeo, Official Court Reporter
   11                 Theodore Levin United States Courthouse
                      231 West Lafayette Boulevard, Room 1067
   12                        Detroit, Michigan 48226
                                   (313) 962-1234
   13
                 Proceedings recorded by mechanical stenography.
   14         Transcript produced by computer-aided transcription.
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Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18357
                                                          PageID.20534   Page 3 of 39
                                                                               3



    1                                 I   N   D   E   X
    2     _________________________________________________________Page
    3     Status Conference                                                        4
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                        15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18358
                                                          PageID.20535    Page 4 of 39
                                                                                4



    1                                         Detroit, Michigan
    2                                         Monday, November 21, 2016
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    4                                   -     -     -
    5                      THE CLERK:       Case Number 15-2O652, United
    6       States of America versus Billy Arnold, Steven Arthur,
    7       Eugene Fisher, Corey Bailey, Quincy Graham, Robert Brown,
    8       Jerome Gooch, Michael Rogers, Derrick Kennedy.
    9                      THE COURT:       Good morning.
   10                      MR. GRAVELINE:         Chris Graveline and Raj
   11       Prasad on behalf of the United States, your Honor.
   12                      THE COURT:       Welcome.
   13                      MR. MORRIS:      Barton Morris on behalf of
   14       Derrick Kennedy.
   15                      MS. MANNARINO:         Good morning.   Maria
   16       Mannarino on behalf of Defendant Number 1, Mr. Billy
   17       Arnold.
   18                      MR. KOSELKE:      Good morning.     Eric Koselke on
   19       behalf of Billy Arnold.
   20                      MR. MCMANUS:      Your Honor, John McManus for
   21       Steven Arthur.     Good morning.
   22                      MR. RATAJ:       Good morning, your Honor.       Mike
   23       Rataj on behalf of Mr. Quincy Graham.
   24                      MR. MULLKOFF:      Doug Mullkoff on behalf of
   25       Michael Rogers.


                        15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18359
                                                         PageID.20536   Page 5 of 39
                                                                              5



    1                      MR. SEIKALY:     Christopher Seikaly on behalf
    2       of Jerome Gooch.
    3                      MR. SCHARG:    Good morning, your Honor.        Henry
    4       Scharg on behalf of Eugene Fisher, Number 3 on the
    5       indictment.
    6                      MR. MINOCK:    Good morning.      If it please the
    7       Court, John Minock on behalf of Corey Bailey.
    8                      MR. FEINBERG:     James L. Feinberg, attorney
    9       for Robert Brown.
   10                      THE COURT:    Mr. Spielfogel is on the phone.
   11       He's learned counsel for Mr. Bailey.
   12                      MR. SPIELFOGEL:     Yes, I am.     Good morning.
   13                      MR. FEINBERG:     Your Honor, I have learned
   14       counsel Jack Martin.      Apparently he has not called in, and
   15       he is not here.     I don't know what his status or his
   16       preference is.
   17                      THE COURT:    Okay.
   18                      MR. FEINBERG:     It was suggested by the
   19       marshals that the attorneys sit behind their clients in
   20       the jury box.     So that's why I'm here.
   21                      THE COURT:    That's fine.     Anybody else want
   22       to do that, that's fine.
   23                      MR. SCHARG:    May I request that my client sit
   24       behind me in the first row?
   25                      THE COURT:    That will be fine.      Go ahead.


                        15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18360
                                                         PageID.20537   Page 6 of 39
                                                                              6



    1                      MR. GRAVELINE:     Good morning.     So we set this
    2       status conference in September when we were talking about
    3       that there was going to be a superseding indictment in
    4       this case, we have superseded, a third superseding
    5       indictment, which has added three additional defendants
    6       and additional counts to both existing defendants and to
    7       the three new defendants as well.
    8                Everyone now has been arrested and or made their
    9       initial appearances on at least one of the indictments in
   10       this case.    There's a number of people who needs to be
   11       arraigned on the third superseding indictment, and if the
   12       Court is willing to do that, we can do that during this
   13       proceeding or we can handle it in duty court at 1:00, but
   14       I think we can have everyone arraigned on the third
   15       superseding indictment by end of the day today.
   16                So with that, we just put out about 1,100 more
   17       pages discovery as of Friday.       I talked to Mr. Anton
   18       today.   I think we put that out Friday night.         So it
   19       should be in the mail today and received today.             That will
   20       be given out to defense counsel.        We have additional
   21       discovery right now.
   22                One of the tasks that we're going through is to
   23       make sure that all of the lab results, all of the -- any
   24       type of testing, any type of expert, I was going to
   25       prepare an expert witness notice for defense in this case


                        15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18361
                                                         PageID.20538   Page 7 of 39
                                                                              7



    1       hopefully no later than December 15th, so that they know
    2       exactly who we might call in terms of experts, and what
    3       types of evidence might be presented by experts by
    4       December 15th, and I believe that we will have the
    5       majority of the discovery out in this case by the end of
    6       the year by December 31st in this case.
    7                The issue that I think is going to come up from
    8       the defense perspective is a lot of the discovery,
    9       especially some of the things linking different defendants
   10       to Jencks material, and so that might not be coming.             It
   11       might not be readily apparent how we're linking some of
   12       the defendants to certain shootings until we release
   13       Jencks, and that won't be until far closer to the trial,
   14       but I believe what we will be able to disclose anything
   15       non-Jencks will be done by December 31th in this case.
   16                One of the things that I would like to do was
   17       propose prospective trial groups to the Court today, and
   18       essentially my methodology on this was to put anyone
   19       facing death eligible charges in the first group, and then
   20       fill in that group with defendants who are currently in
   21       custody.
   22                So the proposed trial groups -- and clearly this
   23       is subject to both the Court's approval and defense
   24       counsel's objections -- but the proposed trial group that
   25       the government is going to put forward is in Trial Group


                        15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18362
                                                         PageID.20539   Page 8 of 39
                                                                              8



    1       1, Billy Arnold, Quincy Graham, Robert Brown, Jerome
    2       Gooch, James Robinson and Matleah Scott.
    3                Trial Group 2 would be Corey Bailey, Michael
    4       Rogers, Derrick Kennedy, Devon Patterson, Jeffrey Adams,
    5       and Arlandis Shy.
    6                Trial Group 3 would be Steven Arthur, Eugene
    7       Fisher, Christopher Owens, Anthony Lovejoy, Diondre
    8       Fitzpatrick and Donnell Hendrix.
    9                I think the one exception to the rule that I think
   10       immediately comes out is Corey Bailey, who we propose in
   11       Trial Group 2 is one of the death eligible defendants.
   12       However, the reason we put -- or suggested Mr. Bailey in
   13       Trial Group 2 is he is serving a custodial sentence
   14       already in the Bureau of Prisons, and so while he has not
   15       been given a pretrial bond in this case, he's already in
   16       incarcerated on another case.
   17                So if we're going to try to get somebody who is in
   18       pretrial custody case heard first, I thought that would be
   19       best to move one of the other defendants who is being held
   20       in pretrial incarceration before Mr. Bailey, and so that's
   21       why we put him in Trial Group 2 as oppose to Group 1.
   22                I had a brief conversation this morning with the
   23       Court's case manager about what could possibly be some
   24       realistic trial dates in this case.          We initially started
   25       looking at July, maybe toward the end of July for Trial


                        15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18363
                                                          PageID.20540   Page 9 of 39
                                                                               9



    1       Group 1.    I think based upon the Court's calendar, it
    2       appears that the third week of August would probably be a
    3       good trial date for Trial Group 1.           I believe that would
    4       give us time to resolve the death legibility defendants
    5       and pretrial motions in this case.           I anticipate at least
    6       a two month long trial, and so if we began in the third
    7       week of August, I would say trial would continue on until
    8       at least mid-October.
    9                For Trial Group 2, based on that, I would suggest
   10       a mid-November trial date, and with a mid-November date,
   11       that would probably go to the middle of January, and then
   12       for Trial Group 3, a mid-February 2018 trial date.
   13                      THE COURT:    When?
   14                      MR. GRAVELINE:     Mid-February of 2018.
   15                Now it's been my experience in these type of
   16       cases, sometimes people plead out in a six defendant trial
   17       group.   So if someone in Group 2 wanted to have his case
   18       heard before mid-November and be part of Trial Group 1, we
   19       will be able to accommodate sliding people up into Trial
   20       Group 1.    We will work to resolve some of the cases by
   21       pleas so we can have a better idea.
   22                I don't know the Court's preference, but both
   23       myself and several of the defense counsel on this case
   24       have been part of large trials before.          I think my only
   25       personal opinion, seven becomes the absolute far end of a


                        15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18364
                                                         PageID.20541   Page 10 of
                                      39
                                                                           10



   1       big trial can be and be effective, but if the Court wants
   2       less or more, I'll take whatever guidance you give on
   3       that, but we thought we would start with at least this
   4       initial group of six people.
   5                      THE COURT:    Okay.    All right.    Does the
   6       defense counsel have any comments on general concept of
   7       making death eligible defendants the -- and other in
   8       custody defendants up to comprise the first group for
   9       trial?    Does anybody think that is a bad idea?
  10                      MR. FEINBERG:     Jim Feinberg for Mr. Brown.
  11       Since Mr. Brown is just indicted on the death penalty
  12       eligible counts, learned counsel has been appointed, but
  13       he has not submitted his entire budget, and has not
  14       started proceedings as far as what learned counsel needs
  15       to do did, along with a litigation specialist and a
  16       paralegal since he is not either here or on the phone, I
  17       don't know how much time he is going project to be needed
  18       for his job.
  19                 So I can't say that the August trial date is
  20       realistic.    I certainly have no objection if the death
  21       penalty eligible count is approved by DOJ, for Mr. Brown
  22       to be in Group 1, but if for some reason it is declined, I
  23       don't know, when he is going to be going ready, but based
  24       on that, I have no objection to being with Group 1 based
  25       on Mr. Martin's litigation specialist being ready with


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18365
                                                          PageID.20542   Page 11 of
                                      39
                                                                            11



   1       everybody else Group 1 to be tried.
   2                      THE CLERK:    Thank you.       I might just ask,
   3       other than Mr. Spielfogel who is on the phone, any other
   4       learned counsel here?
   5                      MR. KOSELKE:     Eric Koselke on behalf of Mr.
   6       Arnold.    We would ask not to go with the first group for
   7       several reasons:     Number one, as Mr. Graveline indicated,
   8       we don't have all the discovery yet in the case, and I
   9       think there's a potential -- I don't think it's definite
  10       yet -- for an additional superseding indictment or
  11       potential additional defendants.        That all will affect our
  12       preparations.
  13                 I know I can speak on behalf of our defense team,
  14       we have had significant difficulty obtaining records.              The
  15       more time we can get -- we're going to need more than the
  16       non-eligible capital defendants to prepare the capital
  17       phase, and therefore, we request to be placed in one of
  18       the later groups.
  19                      THE COURT:    All right.
  20                      MR. FEINBERG:     Based on what he said, I
  21       believe Mr. Martin, who is my learned counsel, would
  22       probably want to do what was just suggested by prior
  23       counsel's client.
  24                      THE COURT:    All right.       My first reaction to
  25       the general question similar to what was just advanced by


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18366
                                                         PageID.20543   Page 12 of
                                      39
                                                                           12



   1       learned counsel, that is that the process of deciding
   2       death eligibility or not, whether it is going to be
   3       withdrawn or not, from my prior experience, it is a pretty
   4       dragged out process, and now with the change of
   5       administration even more so, and in addition to the
   6       argument that mitigation evidence will have to be the
   7       subject of discovery, and in addition to the discovery
   8       otherwise required.      So what is your reaction, Mr.
   9       Graveline?
  10                      MR. GRAVELINE:     In terms of defense counsel
  11       being in collection of their own mitigation evidence, I
  12       can't speak to that.      So if they need more time, they need
  13       more time.    I can't speak to that.
  14                 In terms of interacting with Washington D.C., it's
  15       been my experience, less time is better.          Making them make
  16       a decision is better then giving them, well, you don't
  17       have to make a decision until nine or 10 or a year from
  18       now.   They will take nine months, 10 months, 11 months to
  19       make a decision because you've given them that much time.
  20                 That's why I proposed it this way.        It's been my
  21       experience working with Washington D.C. on these types of
  22       issues, give them a deadline.       Make them make a decision,
  23       and then they will usually make a decision.          Washington
  24       D.C. is never going to make decision without us setting a
  25       deadline to make a decision.


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18367
                                                         PageID.20544    Page 13 of
                                      39
                                                                            13



   1                      THE COURT:    I see.
   2                      MR. GRAVELINE:     And I think flexibility is
   3       critical, and I definitely want to work with the defense
   4       teams on that.
   5                 On the flip side, if we need to flip Trial Group 1
   6       and Trial Group 2 and move things around, I can understand
   7       that as well.     It's just that my experience that
   8       setting -- you know, this is a firm trial date.              This is
   9       when we need a decision to be made by.          That advances the
  10       process as oppose to take away from the process.
  11                      MR. MINOCK:     John Minock for Corey Bailey.
  12       In this case we don't have all the discovery yet, and the
  13       breaking of the defendants into trial groups was just made
  14       known I think to the defense this morning.
  15                 Speaking for Mr. Bailey, I can't tell you now
  16       whether we have an objection or would seek a severance
  17       from any of the defendants in Trial Group 2, simply
  18       because we don't have all the information, and we haven't
  19       analyzed the case with the eye towards that yet.
  20                 So preliminarily, I don't have problem with it,
  21       but I want to be clear that depending on what we discover,
  22       there maybe a severance issue down the road.
  23                      MR. RATAJ:    Mike Rataj on behalf of Mr.
  24       Graham.
  25                 I would echo Mr. Minock's comments regarding that


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18368
                                                          PageID.20545   Page 14 of
                                      39
                                                                            14



   1       severance, and that I haven't looked at all of the
   2       discovery, but I also want to put on the record that my
   3       client has expressed his speedy trial rights.           I can't
   4       tell you where we are on that right now.           I have not
   5       calculated it, but if we go in August, we may have an
   6       issue with speedy trial issues.
   7                      THE COURT:    All right.       We have had the last
   8       of the defendants arrested and not yet arraigned?
   9                      MR. GRAVELINE:     That's correct.      We will
  10       complete arraignments, and I believe speedy trial clock
  11       starts today.     The government will be making a motion to
  12       toll the speedy trial clock based on regarding the
  13       complexity of the case, some of the issues involved, the
  14       number of defendants, and motion practice.
  15                 So we will be submitting that motion, if not
  16       today, then by before Thanksgiving for the Court's
  17       consideration.
  18                      THE COURT:    All right.
  19                      MR. SEIKALY:     Your Honor, Christopher Seikaly
  20       on behalf of Mr. Gooch.
  21                 I would join in on Mr. Rataj's statement.           I have
  22       not gotten all of the discovery.        There may be an issue to
  23       sever, and then we got people that are not even involved
  24       in any shootings or killings going to trial with someone
  25       who's a death penalty case, that kind of takes the other


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18369
                                                         PageID.20546   Page 15 of
                                      39
                                                                           15



   1       defendants down because of the severity of the charges of
   2       the people who are assaultive and charged with the
   3       killings, and individuals that can't be tied to any of
   4       those.    So that's an issue that we need to address.
   5                      THE COURT:    We don't have -- I understand we
   6       don't have a written motion yet.
   7                      MR. GRAVELINE:     For the speedy trial?
   8                      THE COURT:    The whole determination of the
   9       groups.
  10                      MR. GRAVELINE:     No, and so I'll put forth the
  11       motion in a written motion for the Court's consideration,
  12       and that will elicit a response from all defense counsel.
  13                 I will say this, in analyzing these trial groups,
  14       we thought about what would the evidence be?          Would it
  15       change if -- could be less trial to Trial Group 2 as
  16       oppose to Trial Group 1.
  17                 Based upon our analysis, we believe the evidence
  18       is going to be the exact same in both -- at least the
  19       first two trials, because the shootings and the murders
  20       are all part of the RICO conspiracy.          Everyone is charged
  21       in RICO conspiracy.      Whether, for example, Mr. Arnold is
  22       sitting in Trial Group 1, the evidence of the shootings
  23       charged to Mr. Arnold is going to be part of the evidence
  24       on even Trial Group 2.
  25                 And so we believe that at least for the first two


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18370
                                                         PageID.20547   Page 16 of
                                      39
                                                                           16



   1       trial groups, it's going to be almost a mirror image
   2       trial, both in the first trial and second trial.
   3                      THE COURT:    On the other hand, we have --
   4       we'll have a considerable portion of the early trial
   5       proceedings with the voir dire process and selecting
   6       jurors who voice the ability and willingness to consider
   7       the death penalty as an option in the case.
   8                      MR. GRAVELINE:     If the death penalty is on
   9       that table, and when D.C. makes the decision, we'll know
  10       sooner rather than later, and then we can make more
  11       intelligence decisions if it comes back as this is a death
  12       eligible case.     I agree with everybody.       I think that
  13       changes how this case gets tried.
  14                      THE COURT:    Okay.    And we'll have at this
  15       point three?
  16                      MR. GRAVELINE:     There are four people who
  17       have death eligible charges against them.
  18                      THE COURT:    My suggestion for you as you look
  19       at this motion is to consider the possibility of just
  20       making the death eligible defendants a class of
  21       themselves, and we might very well get to the point of
  22       determining the death eligible decision on the case
  23       earlier rather than later, because we won't necessarily
  24       get tied up and distracted by other issues that will be
  25       shared in common with everyone.        Just to consider that,


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18371
                                                         PageID.20548   Page 17 of
                                      39
                                                                           17



   1       and then if you do and we reject that, we'll consider the
   2       motion obviously that you will file.
   3                      MR. GRAVELINE:     All right.
   4                      THE COURT:    What else should we be
   5       addressing?
   6                      MR. GRAVELINE:     I think that's it from the
   7       government's point of view.
   8                      THE COURT:    Okay.    All right.    For defense
   9       counsel, I know that I have some arraignments to conduct.
  10       I will do that after we clear other issues that are upon
  11       us.   Ms. Mannarino?
  12                      MS. MANNARINO:     Thank you.     Maria Mannarino
  13       on behalf of Mr. Arnold.
  14                 There are a couple of issues that Mr. Arnold has
  15       asked me to bring to the Court's attention, and asked for
  16       some guidance from the Court.
  17                 Mr. Arnold has been requesting to be moved from
  18       his present location of -- he's at the St. Clair County
  19       Jail.   There's a number of issues that have arisen from
  20       the St. Clair County Jail that have proven to be a great
  21       concern to him.
  22                 One of them has to do with issues that he had
  23       getting and being able to review the voluminous discovery
  24       material.    He's been provided with his discovery on flash
  25       drives, but he's not been given access to it, and he's


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18372
                                                         PageID.20549    Page 18 of
                                      39
                                                                            18



   1       been told that the flash drives have been lost.              When he
   2       has requested time to review the materials, he has not
   3       been able to get that time.       It's been extremely difficult
   4       to prepare and go through the material with him when he is
   5       not being given access to his discovery.          Certainly, we're
   6       seeking guidance on that.
   7                 He's also been asking to be moved because of
   8       issues involving, quite frankly, threats that he has
   9       gotten there.     Apparently, there are others who are
  10       located at that facility who -- and I'm not talking about
  11       the defendants in this case -- but others who are at the
  12       facility, quite frankly, he believes to be people who are
  13       alleged to be victims in this case or connected to alleged
  14       victims in this case who have been making threats, and so
  15       we're very concerned about that, and he's asking to be
  16       moved from that facility, from St. Clair.          We're asking
  17       the Court to consider doing what it can get him moved to
  18       Milan.
  19                 Apparently, he's been told that one of the reasons
  20       he can't go is because of separation in this case, and
  21       we've asked, and we believe that it was at the request of
  22       the prosecutor, and we would ask the prosecutor to revisit
  23       that issue, because quite frankly, not all of the
  24       defendants need to be separated from each other.             So we
  25       are asking the Court to revisit that issue of doing what


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18373
                                                          PageID.20550   Page 19 of
                                      39
                                                                            19



   1       it can do get him to Milan for all of those reasons.
   2                      THE COURT:    Thank you.       Before we ask on this
   3       issue, Mr. Seikaly?
   4                      MR. SEIKALY:     Just the issue that my client
   5       is at the Sanilac County Jail.        In order to meet with him,
   6       it's two and a half hours up two, and two and a half hours
   7       back.    There's no solitude for an attorney-client
   8       discussion to take place in privacy.
   9                 I would ask the Court to perhaps move Mr. Gooch to
  10       Milan.    It's only 45 minutes away.      It makes it a little
  11       bit easier to go more times to see him, because one of the
  12       complaints from Mr. Gooch is that I'm not giving him
  13       enough time in going up to see him enough, and I
  14       understand that.     It's just you have to wipe out a day and
  15       a half.
  16                      THE COURT:    Thank you, Mr. Seikaly.
  17                      MR. KOSELKE:     This is Eric Koselke.         It's not
  18       a placement issue, and it may be appropriate for another
  19       discussion, but right now we have an informal agreement
  20       with the government to a proffer by February 15th.             I know
  21       there's just been two additional death eligible defendants
  22       added to the case, and I assume there's going to be an
  23       extension on that time.
  24                      MR. GRAVELINE:     Well, I can address what's
  25       been raised.


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18374
                                                         PageID.20551    Page 20 of
                                      39
                                                                            20



   1                 First, I will double check on this, but it's my
   2       understanding the only separation orders on this case
   3       right now -- I don't believe there's any separation orders
   4       between the defendants on this case.          If there's any
   5       separation orders, it might be between any of the
   6       defendants and other people who are charged by the federal
   7       government in other cases, but I will double check on
   8       that.   I don't believe there are any separation orders
   9       between the defendants, and if there is, I will double
  10       check that.
  11                 I know, for example, there's at least four or five
  12       of the defendants who are altogether at Sanilac right now,
  13       and so I will double check.       If I'm wrong, I'm wrong, and
  14       I will double check, but it's my understanding there
  15       weren't any but I will double check.
  16                      MR. RATAJ:    Mike Rataj on behalf of Mr.
  17       Graham.
  18                 There is a separation order, at least as to Mr.
  19       Graham and Mr. Arnold.      That I know for a fact.          I'm not
  20       sure as to any other defendants, but I know between my
  21       client and Mr. Arnold there is a separation order.
  22                      MR. GRAVELINE:     Okay.   I'll double check.
  23                      MS. MANNARINO:     When the prosecutor says that
  24       he will check, will it be lifted?
  25                      MR. GRAVELINE:     I will check as to each


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18375
                                                         PageID.20552    Page 21 of
                                      39
                                                                            21



   1       defense counsel because some may have been separated from
   2       somebody else.
   3                      MS. MANNARINO:     On behalf of Mr. Arnold, he
   4       has not made that request, and if we can get that lifted,
   5       that would be great.
   6                      THE COURT:    Okay.
   7                      MR. GRAVELINE:     I'll work on that issue.
   8                 In terms of the deadline submissions, if Ms.
   9       Mannarino and Mr. Koselke are looking for additional time
  10       for Mr. Arnold, we can accommodate that.
  11                 I personally was viewing it because they have been
  12       in the case longer than the two new defendants -- well,
  13       Mr. Brown being new as a death eligible defendant -- and
  14       that those timelines are not necessarily hooked together
  15       at the same time.     If I can, I want to resolve that issue
  16       for any defendant as quickly as I possible can.              Figure
  17       out which way it's going to go.        I don't figure those four
  18       defendants decisions being coupled together.          If somebody
  19       is ready to submit and make a recommendation, let's get it
  20       done.   If another two or three need additional time, then
  21       we'll give them additional time.        I don't view those four
  22       as being a block that we will wait and give it all at one
  23       time to Washington D.C.      The sooner we can resolve it, I
  24       think the better off we are in terms of everyone knowing
  25       the landscape of the case, and so if that's your request,


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18376
                                                         PageID.20553   Page 22 of
                                      39
                                                                           22



   1       you're seeking additional time, we can do that.
   2                      MR. KOSELKE:     Yes.
   3                      MR. GRAVELINE:     But if somebody else is ready
   4       to go on February 15th, I more than welcome to that too.
   5                      THE COURT:    Okay.     Thank you.   All right.
   6       Anyone else with the placement issue?         Okay.
   7                 Any other issues?     Mr. Scharg?
   8                      MR. SCHARG:     Henry Scharg.     A couple of
   9       discovery issues, your Honor.        First of all, it's my
  10       understanding that although we have three groups with
  11       scattered trial dates --
  12                      THE COURT:    We don't have that yet.         We're
  13       waiting for written motions, and then we'll seek your
  14       input along with other defense counsel.
  15                      MR. SCHARG:     The issue is that can I
  16       anticipate that when Jencks Act material is released to
  17       the first group, that it will be released to all groups?
  18                      MR. GRAVELINE:     I don't think so.      I think
  19       we'll be putting that Jencks material up pursuant to a
  20       protective order for each trial group.
  21                      MR. SCHARG:     Second of all, as the Court
  22       knows when we were first before the Court, we requested
  23       the appointment of a discovery coordinator in this case.
  24       It was part of our budget, and at that time he's servicing
  25       all the defendants, and because of the fact that now with


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18377
                                                         PageID.20554   Page 23 of
                                      39
                                                                           23



   1       the dissemination of all materials and added defendants,
   2       some of them death eligible, his budget is almost
   3       exhausted.
   4                 So we've had some discussion for the Court's
   5       consideration in that we're asking in terms of the
   6       non-death eligible attorneys, that the death eligible
   7       defendants submit their own budgets with Mr. Anton or
   8       another discovery coordinator so it doesn't further
   9       exhaust our budget, and to pick up part of the cost --
  10       part of their expenses in their budget so we have more
  11       room.   We will need more room based upon the disclosure
  12       from the government today that here's going to be at least
  13       two additional discovery dumps in this case.          And as I've
  14       said, we've almost exhausted our budget for our
  15       coordinator because of the additional work that attorneys
  16       from the death eligible defendants have requested.
  17                      THE COURT:    As it stands now, the coordinator
  18       is acting on behalf of all the defendants?
  19                      MR. SCHARG:     Yes, and then for that reason
  20       he's exhausted almost his entire budget, and we've
  21       approached some of the learned counsel regarding that fact
  22       that when they approach the Court for their budget, they
  23       should include a discovery coordinator, Mr. Anton or
  24       someone else so that relieves us.
  25                      THE COURT:    Have you talked to any of the --


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18378
                                                         PageID.20555   Page 24 of
                                      39
                                                                           24



   1                      MR. SCHARG:     Yes.   I wanted to bring it to
   2       your attention also so when they discuss their budgets,
   3       you will have that in mind.
   4                      THE COURT:    Okay.
   5                      MR. MINOCK:     John Minock for Corey Bailey.
   6                 I indicated to Mr. Scharg that I would be filing a
   7       motion to amend our budget for a discovery coordinator and
   8       paralegal.    I also indicated to him that I am going to
   9       consult with Robert Rand, the Sixth Circuit budget
  10       attorney, regarding the way the Sixth Circuit wants to pay
  11       him, and we'll will be submitting an amended budget when I
  12       speak to him.
  13                      MS. MANNARINO:     Maria Mannarino.     On behalf
  14       of Mr. Arnold, we too will follow up in the appropriate
  15       manner.
  16                      THE COURT:    Okay.    Other than the
  17       arraignments, are there any other issues that you think we
  18       need to be address?
  19                      MR. GRAVELINE:     No.
  20                      THE COURT:    As it relates to placement, I
  21       think the first discussion should take place with the
  22       government, and I'm certainly willing to hear from
  23       counsel.    We can do it by way of a telephone conference
  24       and have that recorded so that we don't need to wait for a
  25       hearing date to come up to address placement, but I think


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18379
                                                          PageID.20556   Page 25 of
                                      39
                                                                            25



   1       logically the first discussion should be between counsel
   2       and the government and see if you can work that out short
   3       of my intervention.
   4                 So for those of you who are going to be arraigned,
   5       how many individuals do we have?
   6                      MR. SCHARG:     Mr. Fisher.
   7                      THE COURT:    So we have four.       So we can do
   8       that.
   9                      MR. GRAVELINE:     Maybe we can just handle it
  10       rights now before we excuse everybody.
  11                      THE COURT:    Right.
  12                      MR. GRAVELINE:     So I believe first one is
  13       Mr. Arthur, Defendant Number 2.
  14                      MR. MCMANUS:     John McManus on behalf of Mr.
  15       Arthur.    We have provided the Court in advance of his
  16       acknowledgement of the third superseding indictment, and
  17       we're prepared to proceed for indictment.
  18                      THE COURT:    All right.       So the Court has been
  19       presented in this case with Mr. Arthur's acknowledgement
  20       of the third superseding indictment?
  21                      MR. MCMANUS:     That's correct.
  22                      THE COURT:    The charges are identified in
  23       that acknowledgement, and so have you had the opportunity
  24       Mr. McManus to go over the third superseding indictment
  25       with your client?


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18380
                                                          PageID.20557   Page 26 of
                                      39
                                                                            26



   1                      MR. MCMANUS:     I have, your Honor.
   2                      THE COURT:    And you understand Mr. Fisher
   3       (sic), you're charged in Count 1 of --
   4                      MR. GRAVELINE:     It's RICO conspiracy, your
   5       Honor.
   6                      MR. MCMANUS:     RICO conspiracy for Mr. Arthur.
   7                      THE COURT:    And the maximum penalty for that
   8       violation is up to life imprisonment, maximum fine of
   9       $250,000 provided by statute, you understand that?
  10                      DEFENDANT ARTHUR:      Yes, sir.
  11                      THE COURT:    Okay.    In Count 25, the charge --
  12                      MR. GRAVELINE:     It's Count 32, and that's
  13       924(c), possession of a firearm in furtherance of a crime
  14       of violence, with a mandatory minimum of five years up to
  15       life imprisonment and a $250,000 fine.
  16                      THE COURT:    Do you want to state the other
  17       charges remaining?
  18                      MR. GRAVELINE:     Those are two against
  19       Mr. Arthur.
  20                      THE COURT:    I see.    Okay.
  21                      MR. GRAVELINE:     Maybe you were looking at the
  22       wrong acknowledgement.      For Mr. Arthur, it is Count 1 and
  23       Count 32.
  24                      THE COURT:    I'm sorry.       I was presented with
  25       papers relating to more than one defendant.           I'm sorry.


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18381
                                                          PageID.20558   Page 27 of
                                      39
                                                                            27



   1       So we have two counts.
   2                      MR. GRAVELINE:     That's correct.
   3                      THE COURT:    And you understand the charges
   4       from your discussion with Mr. McManus?
   5                      DEFENDANT ARTHUR:      Yes, sir.
   6                      THE COURT:    And you understand what the
   7       maximum penalties are as recited?
   8                      DEFENDANT ARTHUR:      Yes, sir.
   9                      THE COURT:    The plea would be?
  10                      MR. MCMANUS:     We stand moot, and ask the
  11       Court to enter a not guilty plea and continue the bond.
  12                      THE COURT:    All right.       Any objection to the
  13       request?
  14                      MR. GRAVELINE:     No, your Honor.
  15                      THE COURT:    The Court will continue the bond
  16       and enter a not guilty plea for Mr. Arthur.
  17                      MR. MCMANUS:     Thank you, your Honor.
  18                      THE COURT:    You're welcome.       You waive the
  19       reading of the information?
  20                      MR. MCMANUS:     Waive the reading.
  21                      MR. GRAVELINE:     Next one is Mr. Fisher,
  22       Defendant Number 3.
  23                      THE COURT:    All right.
  24                      MR. SCHARG:     Henry Scharg on behalf of Eugene
  25       Fisher.


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18382
                                                          PageID.20559   Page 28 of
                                      39
                                                                            28



   1                 We acknowledge the third superseding indictment,
   2       waive the reading, stand moot.        We've also executed a copy
   3       of the acknowledgement of the third superseding
   4       indictment.    I have gone over the charges with my client
   5       and the maximum sentences that the Court could impose upon
   6       him upon conviction, and he has signed his name to it.                I
   7       have gone over the third superseding indictment with him,
   8       and have gone over acknowledgement with him.
   9                      THE COURT:    All right.       Mr. Fisher, you
  10       understand what's been said?
  11                      DEFENDANT FISHER:      Yes, your Honor.
  12                      THE COURT:    You had a chance to go over the
  13       third superseding indictment with Mr. Scharg?
  14                      DEFENDANT FISHER:      Yes, sir.
  15                      THE COURT:    You believe you understand the
  16       charges?
  17                      DEFENDANT FISHER:      Yes.
  18                      THE COURT:    You understand the maximum
  19       penalties that are applied to the charges?
  20                      DEFENDANT FISHER:      Yes, your Honor.
  21                      THE COURT:    And the minimum statutory
  22       penalties as well?
  23                      DEFENDANT FISHER:      Yes, your Honor.
  24                      THE COURT:    Do you have any questions
  25       concerning that?


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18383
                                                          PageID.20560   Page 29 of
                                      39
                                                                            29



   1                      DEFENDANT FISHER:      No, your Honor.
   2                      THE COURT:    All right.       You're asking the
   3       Court to enter a not guilty plea on your behalf?
   4                      DEFENDANT FISHER:      Yes, your Honor.
   5                      THE COURT:    The Court will do so.        The
   6       maximum penalty for Count 1 is up to life imprisonment and
   7       a $250,000 or both, you understand that?
   8                      DEFENDANT FISHER:      Yes, your Honor.
   9                      THE COURT:    Count 25 carries up to 10 years
  10       imprisonment and a $250,000 fine or both, you understand
  11       that?
  12                      DEFENDANT FISHER:      Yes, your Honor.
  13                      THE COURT:    Count 26 carries a maximum
  14       penalty of 20 years in prison and up to a $250,000 fine or
  15       both, you understand that?
  16                      DEFENDANT FISHER:      Yes, your Honor.
  17                      THE COURT:    Count 27 is carries up to 10
  18       years in prison and a $250,000 fine or both, you
  19       understand that?
  20                      DEFENDANT FISHER:      Yes, your Honor.
  21                      THE COURT:    Count 32 carries a maximum
  22       penalty provided by statute of life in prison, minimum
  23       penalty of -- I'm sorry -- five years in prison, maximum
  24       of $250,000 in fines or both, you understand that?
  25                      DEFENDANT FISHER:      Yes, your Honor.


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18384
                                                         PageID.20561   Page 30 of
                                      39
                                                                           30



   1                      THE COURT:    And Count 33 carries up to 10
   2       years in prison, a $250,000 fine or both, you understand
   3       that?
   4                      DEFENDANT FISHER:      Yes, your Honor.
   5                      THE COURT:    And lastly Count 35, up to 10
   6       years in prison, $250,000 fine or both, you understand
   7       that?
   8                      DEFENDANT FISHER:      Yes, your Honor.
   9                      THE COURT:    Okay.
  10                      MR. GRAVELINE:     The only other thing to add
  11       from the government's point of view of Mr. Fisher is he
  12       also is currently charged in a separate indictment 15-
  13       2O751.    That charge is now incorporated into the third
  14       superseding indictment in this case.          So we will be filing
  15       a motion to dismiss that felon in possession in that
  16       separate indictment, which is in front of your Honor as
  17       well.
  18                 So the Court can be anticipating a motion to
  19       dismiss.
  20                      MR. SCHARG:     We have no objection to that.
  21                      THE COURT:    Okay.
  22                      MR. SCHARG:     One final matter, your Honor.
  23       We ask that bond be continued with the caveat that we will
  24       be filing a motion to modify the conditions of bond.             That
  25       will be in writing at a later time.


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18385
                                                          PageID.20562   Page 31 of
                                      39
                                                                            31



   1                      THE COURT:    All right.       Did you waive the
   2       reading?
   3                      MR. SCHARG:     We did.
   4                      THE COURT:    Thanks.     The Court will continue
   5       the bond.
   6                      MR. SCHARG:     Thank you, your Honor.
   7                 Next is Mr. Gooch?
   8                      MR. GRAVELINE:     That's correct, your Honor.
   9                      THE COURT:    All right.       Mr. Seikaly.
  10                      MR. SEIKALY:     We would waive the formal
  11       reading of the indictment and stand moot.           He has signed
  12       the defendant's acknowledgement of the third superseding
  13       indictment.    We have reviewed the indictment together, and
  14       he understands what charges are.
  15                      THE COURT:    All right.       Mr. Gooch, you
  16       understand what's been said?
  17                      DEFENDANT GOOCH:     Yes.
  18                      THE COURT:    And you believe that you
  19       understand the charges that are made against you in this
  20       third superseding indictment, both in Count 1 and Count
  21       32?
  22                      DEFENDANT GOOCH:     Yes, your Honor.
  23                      THE COURT:    And so you understand that the
  24       maximum penalty for the violation charged in Count 1 is up
  25       to 20 years in prison and a $250,000 fine or both?


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18386
                                                          PageID.20563   Page 32 of
                                      39
                                                                            32



   1                      DEFENDANT GOOCH:     Yes, your Honor.
   2                      THE COURT:    And the maximum penalty in Count
   3       32 is up to life in prison, and a maximum fine up to
   4       $250,000 or both, and that the a minimum sentence for the
   5       violation in Count 32 is five years in prison, you
   6       understand that?
   7                      DEFENDANT GOOCH:     Yes, your Honor.
   8                      THE COURT:    You have gone over the third
   9       superseding indictment with Mr. Seikaly?
  10                      DEFENDANT GOOCH:     Yes.
  11                      THE COURT:    You believe you understand
  12       charges that have been made against you?
  13                      DEFENDANT GOOCH:     Yes, your Honor.
  14                      THE COURT:    Anything else that relates to Mr.
  15       Gooch?
  16                      MR. GRAVELINE:     Nothing.
  17                      THE COURT:    All right.       The Court will
  18       continue the detention order, and enter a not guilty plea
  19       to the charges.
  20                      MR. SEIKALY:     Thank you.
  21                      MR. GRAVELINE:     I had a conversation
  22       Mr. Bailey's attorney, and we are prepared do his
  23       arraignment at this time.
  24                      THE COURT:    Mr. Spielfogel, is there anything
  25       else that you want to weigh in on while you are on the


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18387
                                                         PageID.20564   Page 33 of
                                      39
                                                                           33



   1       phone?
   2                      MR. SPIELFOGEL:     No.   I had things, but it
   3       seems to me all have been covered by other learned counsel
   4       and by Mr. Minock.      I would just concur with them that we
   5       originally, per the Court's order -- have been trying to
   6       get this submission in shape by February 15th.           That's
   7       been a real slow go.      We're trying to get there.         I would
   8       agree with Mr. Koselke that we will need more time than
   9       that, and with the additional death eligible defendants,
  10       it doesn't seem like that date will be realistic, but we
  11       will continue to work on it.       We will get there as quickly
  12       as we can, Judge.
  13                      THE COURT:    Thank you, sir.
  14                      MR. GRAVELINE:     I'm delivering to the Court
  15       Mr. Bailey's acknowledgement.
  16                      THE COURT:    Mr. Bailey is seated where?
  17       Okay.    So Mr. Minock?
  18                      MR. MINOCK:     Yes, Judge.    Waive the reading
  19       of the indictment I would note that Mr. Bailey has not
  20       received a copy of the indictment until this morning, but
  21       when I visited him last Thursday, we discussed at the time
  22       the details of it, and the changes from the second to the
  23       third superseding indictment.        We are ready to proceed
  24       with the arraignment on those counts which he's charged.
  25                      THE COURT:    Okay.    So Mr. Bailey, you had a


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18388
                                                         PageID.20565   Page 34 of
                                      39
                                                                           34



   1       chance to review the third superseding indictment that
   2       state the charges brought against you?
   3                      DEFENDANT BAILEY:      Yes, I have.
   4                      THE COURT:    And you understand the nature of
   5       the charges that are facing you?
   6                      DEFENDANT BAILEY:      Yes, I do.
   7                      THE COURT:    You understand that the charges
   8       in Count 1 carries a maximum penalty of life in prison,
   9       $250,000 fine or both?
  10                      DEFENDANT BAILEY:      Yep.
  11                      THE COURT:    And then Count 4, up to death
  12       penalty or life in prison, and a $250,000 fine or both,
  13       you understand that?
  14                      DEFENDANT BAILEY:      Yes, I understand.
  15                      THE COURT:    Count 5, you're also facing
  16       charges, if convicted, that's punishable by a maximum
  17       penalty of death or life in prison, $250,000 in fines or
  18       both, you have understand that?
  19                      DEFENDANT BAILEY:      I understand.
  20                      THE COURT:    Count 6, you're facing up to 10
  21       years in prison and a $250,000 fine or both, you
  22       understand that?
  23                      DEFENDANT BAILEY:      Yes.
  24                      THE COURT:    Count 7, up to 20 years in
  25       prison, $250,000 fine or both, you understand that?


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18389
                                                         PageID.20566   Page 35 of
                                      39
                                                                           35



   1                      DEFENDANT BAILEY:      Yes, I understand.
   2                      THE COURT:    Count 8, up to 20 years in
   3       prison, $250,000 fine or both, you understand that?
   4                      DEFENDANT BAILEY:      Yes.
   5                      THE COURT:    Count 9, up 20 years in prison,
   6       $250,000 fine or both, you understand that?
   7                      DEFENDANT BAILEY:      Yes.
   8                      THE COURT:    Count 10, up to 20 years in
   9       prison, $250,000 fine or both, you understand that?
  10                      DEFENDANT BAILEY:      I understand.
  11                      THE COURT:    Count 11, up to 20 years in
  12       prison, $250,000 or both, you understand that?
  13                      DEFENDANT BAILEY:      Yes.
  14                      THE COURT:    Count 12, 10 years to -- 10 year
  15       mandatory minimum sentence up to life in prison, $250,000
  16       fine or both, you understand that?
  17                      DEFENDANT BAILEY:      Yes.
  18                      THE COURT:    And Count 32, minimum sentence of
  19       10 years -- five years in prison and a maximum penalty of
  20       life in prison, and a $250,000 fine or both, you
  21       understand that?
  22                      DEFENDANT BAILEY:      Yes.
  23                      THE COURT:    You understand you're asking the
  24       Court to enter a not guilty plea for all of the charges?
  25                      DEFENDANT BAILEY:      Yes.


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18390
                                                          PageID.20567    Page 36 of
                                      39
                                                                             36



   1                      THE COURT:    And that you're waiving your
   2       right to have the indictment read to you in its entirety
   3       this morning, you understand that?
   4                      DEFENDANT BAILEY:      Waiving?
   5                      THE COURT:    Just waiving the right to have me
   6       read the entire indictment to you, you understand that?
   7                      DEFENDANT BAILEY:      I would like to hear -- I
   8       didn't know I was waiving everything.
   9                      THE COURT:    All right.       You have a copy of
  10       that indictment, sir?
  11                      DEFENDANT BAILEY:      You say what?
  12                      THE COURT:    You have a copy of the
  13       indictment?
  14                      DEFENDANT BAILEY:      Right here this
  15       indictment.    I see it.
  16                      THE COURT:    I'm sorry?
  17                      DEFENDANT BAILEY:      Yes, I have copy of the
  18       indictment.
  19                      THE COURT:    And you had a chance to discuss
  20       it with Mr. Minock?
  21                      DEFENDANT BAILEY:      We discussed it.
  22                      THE COURT:    All right.       Thank you.      The Court
  23       will enter a not guilty plea on your behalf.
  24                      MR. MINOCK:     May I have a moment to confer
  25       with my client please?


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18391
                                                          PageID.20568   Page 37 of
                                      39
                                                                            37



   1                      THE COURT:    Sure.
   2                      DEFENDANT BAILEY:      You ain't got to read it.
   3       I understand.     We went over it.
   4                      THE COURT:    All right.       Thank you, sir.
   5       Okay.   The Court will enter not guilty plea as it relates
   6       to each of the counts for Mr. Bailey.
   7                 Anything else?
   8                      MR. GRAVELINE:     I believe that's everyone --
   9       or Mr. Rogers?
  10                      MR. MULLKOFF:     Mr. Rogers is prepared.        Doug
  11       Mullkoff on behalf of Michael Rogers.
  12                      MS. MANNARINO:     May we be excused?
  13                      THE COURT:    Yes.    You don't have an
  14       arraignment?
  15                      MS. MANNARINO:     We have already been
  16       arraigned.
  17                      THE COURT:    Okay.    Mr. Rogers, have you had
  18       an opportunity to go over the third superseding indictment
  19       with Mr. Mullkoff?
  20                      DEFENDANT ROGERS:      Yes.
  21                      THE COURT:    And he has explained the nature
  22       of the charges against you?
  23                      DEFENDANT ROGERS:      Yes.
  24                      THE COURT:    Mr. Mullkoff?
  25                      MR. MULLKOFF:     There has been no changes as


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19   PageID.18392
                                                         PageID.20569    Page 38 of
                                      39
                                                                            38



   1       applied to Mr. Rogers between the previous indictment and
   2       this one.    This indictment are Counts 1 and 32.            924(c) is
   3       Count 32, and Count 1 is racketeering.          We ask the Court
   4       to enter a not guilty plea on his behalf, and we would
   5       waive the formal reading of the indictment.
   6                      THE COURT:    Okay.    And Mr. Rogers, you
   7       understand if convicted on Count 1, the maximum penalty is
   8       up to life in prison, $250,000 fine or both?
   9                      DEFENDANT ROGERS:      Yes.
  10                      THE COURT:    As it relates to the charges in
  11       Count 32, if convicted on the 924(c) violation, you would
  12       face a mandatory minimum sentence of five years up to a
  13       maximum of life in prison, $250,000 fine or both?
  14                      DEFENDANT ROGERS:      Yes.
  15                      THE COURT:    And you are waiving your right to
  16       have me read the charges?
  17                      DEFENDANT ROGERS:      Yes.
  18                      THE COURT:    Okay.    Any questions that you
  19       have?
  20                      DEFENDANT ROGERS:      No.
  21                      MR. MULLKOFF:     Thank you, Judge.
  22                      THE COURT:    The Court will continue the
  23       detention order, enter a not guilty plea to both
  24       violations.
  25                 I think that's it.     Anything else?


                       15-20652; USA v. BILLY ARNOLD, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1548
                                   1408 filed 12/03/19
                                              05/09/19    PageID.18393
                                                          PageID.20570   Page 39 of
                                      39
                                                                            39



   1                      MR. GRAVELINE:         That's it from the
   2       government.
   3                      THE COURT:       Okay.
   4
   5                          (Proceedings concluded.)
   6                                   -     -     -
   7                         C E R T I F I C A T I O N
   8                  I, Ronald A. DiBartolomeo, official court
   9       reporter for the United States District Court, Eastern
  10       District of Michigan, Southern Division, appointed
  11       pursuant to the provisions of Title 28, United States
  12       Code, Section 753, do hereby certify that the foregoing is
  13       a correct transcript of the proceedings in the
  14       above-entitled cause on the date hereinbefore set forth.
  15                  I do further certify that the foregoing
  16       transcript has been prepared by me or under my direction.
  17
  18     s/Ronald A. DiBartolomeo                             May 9, 2019
         ____________________________                       ________________
  19     Ronald A. DiBartolomeo, CSR                              Date
         Official Court Reporter
  20                               -  -            -
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                       15-20652; USA v. BILLY ARNOLD, ET AL
